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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

MEAGAN CREWS                 *
                             *                             CIVIL ACTION NO.
v.                           *                             17-CV-234
                             *
                             *                             JUDGE SHELLY D. DICK
EXPERIAN INFORMATION         *
SOLUTIONS, INC. and          *                             MAGISTRATE JUDGE
ACCOUNT CONTROL BUREAU, INC. *                             ERIN WILDER-DOOMES
                             *
***************************

                   STIPULATION OF DISMISSAL WITH PREJUDICE
                      BETWEEN PLAINTIFF AND DEFENDANT
                    EXPERIAN INFORMATION SOLUTIONS, INC.

       Plaintiff, Meagan Crews, and Defendant, Experian Information Solutions, Inc.

(“Experian”), stipulate, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), to dismiss this action with

prejudice. There are no longer any issues in this matter between Plaintiff and Experian to be

determined by this Court. These Parties hereby stipulate that all claims or causes of action

against Experian which were or could have been brought in this lawsuit are hereby dismissed

with prejudice, with each party to bear their own costs and attorney fees.

                                            Respectfully submitted,

                                              /s/Jonathan F.Raburn
                                            JONATHAN F. RABURN (La. Bar #28728)
                                            DENNIS MCCARTY (Pro Hac Vice)
                                            McCarty & Raburn,
                                            A Consumer Law Firm, PLLC
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                                            Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on the 18th day of October, 2018, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of
electronic filing to persons electronically noticed. I further certify that I mailed the foregoing
document and the notice of electronic filing by first-class mail to any non-CM/ECF participants.



                                                    /s/Jonathan F. Raburn
                                                    JONATHAN F. RABURN




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